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     Attorney for Defendant
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 6
 7                             UNITED STATES DISTRICT COURT
 8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                       SA CR No. 19-061-JVS

11
                  Plaintiff,                         DEFENDANT’S FURTHER
                         v.                          OBJECTIONS TO VOIR DIRE
12                                                   PROCEDURES
13
     MICHAEL JOHN AVENATTI,

14
                  Defendant.

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17         Defendant Michael John Avenatti (“Mr. Avenatti”), through counsel, hereby files
18   his further objections to the voir dire procedures mandated by the Court in this case. On
19   July 13, 2021, voir dire began in this case; it continues as of this filing.
20         The defense understands that the Court intends on “splitting” the venire into three
21   groups beginning on July 16, with one group of prospective jurors in the courtroom and
22   the other two groups in two separate rooms observing the proceedings and listening to
23   the questions via one-way closed-circuit television. The defense further understands that
24   the Court intends on limiting the public access to the courtroom and closing one or more
25   of the other rooms. Mr. Avenatti objects to these procedures and any similar procedures
26   because they are violative of his Constitutional rights and rights under Fed. R. Crim. P.
27   43.
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 1         First, Mr. Avenatti has a Constitutional right under the Fifth and Sixth
 2   Amendments to be personally present at all stages of the trial in this case, including all
 3   aspects of voir dire (which includes the distribution of the questionnaires and the
 4   venire’s completion of the questionnaires). See, e.g., Cohen v. Senkowski, 290 F.3d 485
 5   (2d Cir. 2002); see also Fed. R. Crim. P. 43. A criminal defendant has a constitutional
 6   and statutory right to be present during trial proceedings including voir dire. See United
 7   States v. Reyes, 764 F.3d 1184, 1188 (9th Cir. 2014); citing Campbell v. Wood, 18 F.3d
 8   662, 671 (9th Cir. 1994)(“a person charged with a felony has a fundamental right to be
 9   present at every stage of the trial … [including] the voir dire…”); United States v.
10   Bordallo, 857 F.2d 519, 522 (9th Cir. 1988)(“there is authority that Rule 43 requires the
11   defendant’s presence at the voir dire examination of prospective jurors.”). A defendant’s
12   presence during voir dire is important as it “allows him to observe the prospective
13   jurors’ answers and demeanor so that he can assist his attorney in constructing an
14   impartial jury.” Reyes, supra, 764 F.3d 1184 at 1194; citing Bustamante v. Eyman, 456
15   F.2d 269, 274 (9th Cir. 1972)(“The right to be present at trial stems in part from the fact
16   that by his physical presence the defendant can hear and see the proceedings, can be seen
17   by the jury, and can participate in the presentation of his rights.”(emphasis added)).
18          Splitting the prospective jurors into multiple groups ensures that neither Mr.
19   Avenatti nor his counsel will have the ability to observe the prospective jurors in the
20   other rooms, including their demeanor, body language and reaction while the voir dire
21   questions are being asked and answered in the courtroom. This is a violation of Mr.
22   Avenatti’s rights, including his right to due process, and interferes with his and his
23   counsel’s ability to select a fair and impartial jury. Mr. Avenatti has a Constitutional
24   right and a right under Rule 43 to personally observe all aspects of voir dire – the plan
25   adopted by the Court does not adequately respect those rights because it permits Mr.
26   Avenatti to only be present in the courtroom with approximately 28 prospective jurors
27   while 90 or more other prospective jurors are located elsewhere during voir dire.
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 1   Further, even if the questions are repeated again for jurors who are brought from the
 2   other rooms to the courtroom, the violations remain uncured – Mr. Avenatti and his
 3   counsel are entitled to view the prospective jurors’ demeanor, body language and
 4   reaction during the entire voir dire, including when they hear the questions the first time,
 5   when they hear the answers by other jurors, and when they hear comments or questions
 6   from the Court. As a result, Mr. Avenatti objects to any splitting of the venire and to any
 7   other procedure that does not permit Mr. Avenatti and his counsel to personally observe
 8   all of the prospective jurors during all aspects of voir dire.
 9         Second, Mr. Avenatti has a right to have the general public present for all aspects
10   of the trial, including all aspects of voir dire. See, e.g., Presley v. Georgia, 588 U.S.
11   209, 212-216 (2010); see also Weaver v. Massachusetts, 137 S. Ct. 1899 (2017)
12   (defendant alleged ineffective assistance of counsel case where no objection was made).
13   Mr. Avenatti has never waived this right for any aspect of voir dire. Indeed, the Sixth
14   Amendment specifically provides: “[i]n all criminal prosecutions, the accused shall
15   enjoy the right to a speedy and public trial . . . .” The public trial right extends to voir
16   dire proceedings. See Waller v. Georgia, 467 U.S. 39, 45 (1984) (citing Press–
17   Enterprise Co. v. Superior Court of California, 464 U.S. 501, 104 S.Ct. 819, 78 L.Ed.2d
18   629 (1984)). The right was created for the benefit of defendants and allows for the
19   public to see that the accused is treated fairly, helps ensure that the judge and prosecutor
20   carry out their duties responsibly, encourages witnesses to come forward, and
21   discourages perjury. Id. at 46; U.S. v. Sherlock, 962 F.2d 1349, 1356 (9th Cir.1989).
22   Closing the courtroom and/or the other rooms to the public violates Mr. Avenatti’s right
23   to a public trial. Accordingly, Mr. Avenatti objects to any such closure.
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 1    Dated: July 15, 2021                 Respectfully submitted,
 2
                                          /s/ H. Dean Steward
 3                                         H. DEAN STEWARD
 4                                         Attorney for Defendant
                                           MICHAEL JOHN AVENATTI
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 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5   92660. I am not a party to the above-entitled action. I have caused, on July 15, 2021,

 6   service of the:
 7
          DEFENDANT’S FURTHER OBJECTIONS TO VOIR DIRE PROCEDURES
 8
     on the following party, using the Court’s ECF system:
 9
10   AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
     I declare under penalty of perjury that the foregoing is true and correct.
12
     Executed on July 15, 2021
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14                                           /s/ H. Dean Steward
15                                           H. Dean Steward
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